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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF OREGON
                                   EUGENE DIVISION

   Elizabeth HUNTER; et al., on behalf of                )
   themselves and all others similarly situated,         )
                                                         )
                                                                  Civil Action No.
                                Plaintiffs,              )
                    v.                                   )        DECLARATION OF ALEX
                                                         )        DURON
    U.S. DEPARTMENT OF EDUCATION and                     )
    Suzanne GOLDBERG, in her official capacity as        )
    Acting Assistant Secretary for Civil Rights,         )
    U.S. Department of Education,                        )
                                                         )
                                Defendants.              )

I, Alex Duron, declare:
    1. I am over 18 years of age and have personal knowledge of the matters stated in this
       declaration and would testify truthfully to them if called upon to do so.

   2. I am currently a resident of Fresno, California.

   3. I am originally from El Paso, Texas.

   4. I grew up in a Latinx, Catholic family and remain Catholic myself.

   5. I am bilingual in Spanish and English.

   6. I am the only member of my family who graduated from high school and went to college.

   7. I am also a gay man. I came out around the age of 25. I am now 39.

   8. My pa1iner and I have been together for nearly four years. We have been engaged since
      January of 2020.

   9. I received an Associate Degree of Nursing from San Antonio College.

   10. I received a Bachelor of Science in Nursing (BSN) degree in 2015 from the University of
       Texas, Arlington.

   11. I worked as an ICU nurse in San Antonio, Texas for about six and a half years before I
       applied for my Doctor of Nursing Practice Degree (DNP) with a concentration in Nurse
       Anesthesia.

   12. The DNP is a terminal degree that takes three years to complete.




   DECLARATION OF ALEX DURON
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